      Case 2:06-cv-00108-TC-PMW Document 898 Filed 03/30/11 Page 1 of 3



Thomas D. Walk (#5555)
KIRTON & MCCONKIE, PC
1800 Eagle Gate Tower
60 East South Temple
Salt Lake City, UT 84145
Telephone: (801) 328-3600
Facsimile: (801) 321-4893

Michael L. Snyder (pro hac vice)
David T. Movius (pro hac vice)
David B. Cupar (pro hac vice)
MC DONALD HOPKINS LLC
600 Superior Avenue, E., Suite 2100
Cleveland, OH 44114
Telephone: (216) 348-5400
Facsimile: (216) 348-5474

Attorneys for Vita-Mix Corporation

                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


K-TEC, INC.,
                                                     JOINT MOTION FOR ENTRY OF
            Plaintiff/Counter-Defendant,                 AMENDED JUDGMENT

       v.                                                    Case No. 2:06cv108

VITA-MIX CORPORATION,                                   The Honorable Tena Campbell

            Defendant/Counter-Plaintiff.


       Pursuant to Federal Rule of Civil Procedure 58, Plaintiff K-TEC, Inc. (“K-TEC”) and

Defendant Vita-Mix Corporation (“Vita-Mix”) respectfully request that the Court enter an

Amended Judgment to resolve the remaining issues in this case.

       On January 26, 2011, the Court entered a Memorandum Decision and Order (Dkt. No.

872), which fully disposed of all issues except the amount of K-TEC’s costs and post-verdict

damages. Briefing on those issues is now complete.
        Case 2:06-cv-00108-TC-PMW Document 898 Filed 03/30/11 Page 2 of 3



        On February 24, 2011, Vita-Mix timely filed a Notice of Appeal to the United States

Court of Appeals for the Federal Circuit (“Federal Circuit”). The Federal Circuit docketed Vita-

Mix’s appeal on March 10, 2011. Under Federal Circuit Rules, the briefing schedule begins to

run from the date of docketing, with Vita-Mix’s opening brief due within 60 days, or by May 9,

2011.

        Entry of an Amended Judgment by this Court following resolution of K-TEC’s request

for costs and post-verdict damages will result in another appeal. The parties agree that resolution

of all related, appealable issues in this case in a single appeal will promote judicial economy and

conserve the parties’ and the Federal Circuit’s resources. To that end, contemporaneously with

the filing of this motion, Vita-Mix is filing an unopposed motion with the Federal Circuit to stay

the briefing schedule on the pending appeal until 60 days after the entry of an Amended

Judgment by this Court.

        To minimize delay of the appeal, the parties respectfully request that the Court resolve K-

TEC’s request for costs and post-verdict damages and enter an Amended Judgment.


Date: March 30, 2011                         Respectfully submitted,

                                             HOLLAND & HART LLP

                                             /s/ Brett L. Foster
                                             Attorney for K-TEC, Inc.


                                             MCDONALD HOPKINS LLC

                                             /s/ David T. Movius
                                             Attorney for Vita-Mix Corporation




                                                 2
      Case 2:06-cv-00108-TC-PMW Document 898 Filed 03/30/11 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that, on March 30, 2011, a copy of the foregoing Joint Motion for Entry

of Amended Judgment was electronically served using the Court’s Electronic Case Filing (ECF)

system and the parties have been served by electronic notice through the Court’s ECF system.



                                            /s/ David T. Movius
                                            One of the Attorneys for Vita-Mix Corporation




                                               3
